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                                       UNITED STATES DISTRICT COURT
                                           NORTHERN DISTRICT OF ILLINOIS
                                             327 SOUTH CHURCH STREET
                                              ROCKFORD, ILLINOIS 61101
      Thomas G. Bruton
           CLERK




                                                  November 8, 2021




RE: Whipple v. Johnson & Johnson Consumer Inc.
Case No: 21 cv 50226



Dear Clerk:

Pursuant to the order entered by Honorable Iain D. Johnston on 10/25/2021, the above record

#        was electronically transmitted to: the District
         of New Jersey




                                                           Sincerely yours,


                                                           Thomas G. Bruton, Clerk

                                                           By:    /s/ Jaclyn Pieczkiewicz
                                                                  Deputy Clerk




New Case No. ____________________________                     Date _____________________


cc:      Non-ECF Attorneys and Pro se Parties
